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                      CONTINUATION OF APPLICATION FOR CRIMINAL COMPLAINT

                                                Introduction

1. I, Amanda E. Becker, am a Special Agent (SA) of the Federal Bureau of Investigation (FBI) and
    have been so employed since 2012. I am currently assigned to the Detroit Field Office, Grand
    Rapids Resident Agency. During my employment with the FBI, I have conducted investigations
    involving violations of federal criminal laws, including violations related to child exploitation and
    child pornography. I am familiar with the various statutes of Title 18, United States Code,
    Chapter 110 – sexual exploitation and other abuse of children, including violations pertaining to
    sexual exploitation and attempted sexual exploitation of children (18 U.S.C. § 2251(a)),
    distribution or receipt of child pornography (18 U.S.C.§ 2252A(a)(2)) and possession of child
    pornography (18 U.S.C. § 2252A(a)(5)(B); and Chapter 117 – transportation for illegal sexual
    activity, including coercion and enticement (18 U.S.C. § 2422(b).
2. The statements contained in this Continuation are based upon information acquired during my
    investigation, as well as information provided by others such as other police officers, and Task
    Force Officers (TFOs) and Special Agents of the FBI. Because this Continuation is being
    submitted for the limited purpose of establishing probable cause in support of a criminal
    complaint, I have not included each and every fact known to me concerning this investigation. I
    have set forth only the facts I believe necessary to establish probable cause to believe that there
    is evidence of criminal activity.
3. This continuation is submitted for the purpose of obtaining a criminal complaint against AUSTIN
    THOMAS NOEL, date of birth 01/xx/96, for sexually exploiting a minor (producing child
    pornography) in violation of 18 U.S.C. § 2251(a), receiving and possessing child pornography in
    violation of 18 U.S.C. §2252A(a)(2)(A) and (a)(5)(B); and coercing and enticing a minor to engage
    in illegal sexual conduct, in violation of 18 U.S.C. § 2422(b).

                                               Probable Cause

4. On January 25, 2022, the mother (TIPSTER) of the minor victim (VICTIM 1), who was
    approximately 15 years old, submitted a tip to the FBI National Threat Operations Center (NTOC)
    via tips.fbi.gov. The TIPSTER discovered that approximately 2 years ago, while VICTIM 1 was
    approximately 13 years old and living with another relative in Muskegon, Michigan; VICTIM 1
    had been in contact on Snapchat with AUSTIN NOEL who was approximately 30 years old.


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        AUSTIN NOEL requested nude photographs of VICTIM 1 and threatened VICTIM 1 if she did not
        comply. The TIPSTER believed VICTIM 1 was in contact with AUSTIN NOEL for approximately 1
        year. According to the TIPSTER, VICTIM 1 attempted to block AUSTIN NOEL, but AUSTIN NOEL
        found VICTIM 1 again and contacted VICTIM 1 on Xbox. VICTIM 1 also attempted to change her
        Snapchat account, but AUSTIN NOEL found her again. AUSTIN NOEL got angry, and the threats
        escalated. The TIPSTER said that on an unknown date, AUSTIN NOEL approached VICTIM 1 at a
        movie theatre.
    5. On February 3, 2022, law enforcement spoke with the TIPSTER and VICTIM 1 telephonically.
        VICTIM 1 provided the Snapchat account of AUSTIN NOEL as “official_anoel.” VICTIM 1 also
        provided her Snapchat accounts1, hereafter referred to as VICTIM ACCOUNT A and VICTIM
        ACCOUNT B. VICTIM 1 stated her last contact with AUSTIN NOEL was over Xbox on November
        11, 2020. VICTIM 1 confirmed she began talking with AUSTIN NOEL approximately two to three
        years ago and that VICTIM 1 was originally contacted by AUSTIN NOEL on Snapchat. VICTIM 1
        advised it was the summer before last, believed to be 2020, when AUSTIN NOEL made contact
        with VICTIM 1 at the movie theatre in Muskegon, Michigan, based on a post she made on social
        media.
    6. VICTIM 1 provided the name of AUSTIN NOEL. VICTIM 1 described AUSTIN NOEL as being in his
        late twenties, approximately 5’10” or taller, reddish hair, and a beard. VICTIM 1 also knew
        AUSTIN NOEL to drive a white pick‐up truck.
    7. Michigan Secretary of State databases identified AUSTIN THOMAS NOEL, with a home address
        of 6702 Arlene Dr., Hudsonville, MI, 49426‐9821 and date of birth January xx, 1996. A review of
        AUSTIN NOEL’s Michigan driver’s license information and image showed he was a male, 5’ 8”
        tall, 160 lbs, with reddish hair and a beard. In addition, Michigan Secretary of State databases
        and other law enforcement databases returned information that AUSTIN NOEL was the
        registered2 owner of a white 2012 Dodge Ram, Michigan license plate 8MRX1, a 2002 Honda
        Accord, Michigan license plate ELR1947, a 2020 Subaru Forester, Michigan license plate
        DV3224A, and a 2008 Honda Racer, Michigan license plate FP082.
    8. On February 17, 2022, VICTIM 1 was forensically interviewed by an FBI Child Adolescent Forensic
        Interviewer (CAFI) with the Louisville Division of the FBI. During the interview VICTIM 1 stated

1
  VICTIM 1’s Snapchat accounts, VICTIM ACCOUNT A and VICTIM ACCOUNT B, are known to law enforcement and
are being concealed to protect the identity of the minor victim.
2
  Surveillance conducted by the FBI on May 11, 2022, determined the 2012 Dodge Ram was white in color with
light tan around the bottom of the vehicle and the 2020 Subaru Forester was reddish in color.

                                                     2
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   she sent sexually explicit photographs of herself to AUSTIN NOEL and AUSTIN NOEL sent
   sexually explicit pictures back. According to VICTIM 1, AUSTIN NOEL randomly added VICTIM 1
   on Snapchat a few years ago, when VICTIM 1 was in approximately 6th grade, and was around
   11 or 12 years old. VICTIM 1 and AUSTIN NOEL began to play video games together. VICTIM 1
   told AUSTIN NOEL her age, what school she attended, her sister’s name and age, her friend’s
   names, and her interests. AUSTIN NOEL would compliment the VICTIM 1’s body and began to
   flirt. AUSTIN NOEL convinced VICTIM 1 to send explicit photographs. AUSTIN NOEL would
   randomly send explicit photographs to VICTIM 1 without her requesting. At first, AUSTIN NOEL
   guilted VICTIM 1 into sending him pictures and videos, but as VICTIM 1 became more
   uncomfortable and reluctant, AUSTIN NOEL began threatening her. AUSTIN NOEL told VICTIM 1
   what he wanted to see and asked to see VICTIM 1’s “tits and ass,” told her to take her clothes
   off, and for VICTIM 1 to take pictures from different angles. AUSTIN NOEL had VICTIM 1 send
   him pictures of almost all of VICTIM 1’s body. AUSTIN NOEL was interested in seeing VICTIM 1’s
   vagina and VICTIM 1 sent AUSTIN NOEL pictures of her vagina. AUSTIN NOEL also asked VICTIM
   1 to send videos of VICTIM 1 “fingering” herself and VICTIM 1 sent AUSTIN NOEL a few such
   videos. The frequency in which VICTIM 1 sent AUSTIN NOEL pictures ranged from a few times a
   day to every other day. This went on for several months.
9. VICTIM 1 advised all the pictures exchanged with AUSTIN NOEL occurred on Snapchat using the
   still picture feature. VICTIM 1 advised AUSTIN NOEL saved the pictures VICTIM 1 sent him to the
   chats. AUSTIN NOEL also contacted VICTIM 1 telephonically through Snapchat.
10. According to VICTIM 1, AUSTIN NOEL met her and a friend at a movie theatre in Muskegon, MI.
   VICTIM 1 communicated with AUSTIN NOEL about what movie they were seeing and what seats
   they purchased. AUSTIN NOEL purchased a seat next to VICTIM 1. VICTIM 1 was wearing a skirt,
   and during the movie, AUSTIN NOEL touched her both on top and underneath her clothes. After
   the movie, AUSTIN NOEL told VICTIM 1 he wanted to finger her but did not because VICTIM 1’s
   friend was present. AUSTIN NOEL wanted VICTIM 1 to come over to his house, but VICTIM 1 did
   not go. VICTIM 1 believed AUSTIN NOEL wanted to have sex if they were able to meet. VICTIM 1
   expressed to AUSTIN NOEL she was nervous about people finding out about them, to which
   AUSTIN NOEL told VICTIM 1 he could legally adopt her and continued to talk about having sex
   with her.
11. After the movie, VICTIM 1 and AUSTIN NOEL began to argue and VICTIM 1 told AUSTIN NOEL
   she wanted to stop communicating. AUSTIN NOEL told VICTIM 1 he could expose her and told

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    VICTIM 1 not to tell anyone. VICTIM 1 was in the 6th or 7th grade when she last communicated
    with AUSTIN NOEL. In my experience, a student in the 6th or 7th grade would have been
    between 12 and 14 years old.
12. During the forensic interview, VICTIM 1 advised AUSTIN NOEL had reddish hair, glasses, lighter
    eyes (blue or green), pale skin, a beard often with a shaved mustache, owned a pickup truck and
    a cat, and worked for a billing or accounting company. AUSTIN NOEL told VICTIM 1 he was in his
    late twenties. VICTIM 1 told AUSTIN NOEL her name, actual age, and school she attended.
13. During the forensic interview, VICTIM 1 was shown a Michigan Driver’s license image of AUSTIN
    NOEL with all identifiers removed. VICTIM 1 identified the male in the photograph as who she
    knew as AUSTIN NOEL.
14. On February 10, 2022, an administrative subpoena was served to Snapchat for AUSTIN NOEL’s
    Snapchat account “official_anoel” for the time period of January 1, 2019, through February 8,
    2022.
15. On February 24, 2022, Snapchat responded and provided among other information that the
    Snapchat account “official_anoel,” was created on August 3, 2018. On August 25, 2019, the
    account user changed the username from "Austin Noel" to "Austin N." Snapchat advised that
    the account is still active.
16. On April 6, 2022, a search warrant was obtained in the United States District Court, Western
    District of Michigan (1:22‐MJ‐185), for AUSTIN NOEL’s Snapchat account “official_anoel” and
    the VICTIM 1’s accounts for the time period of the date of account creation (August 3, 2018) to
    April 6, 2022, the date the warrant was served.
17. On April 6 and April 7, 2022, Snapchat responded to the search warrant for AUSTIN NOEL’s
    Snapchat account “official_anoel” and the VICTIM 1’s accounts with a production package
    containing media (images), conversations, friends list, geo locations, IP data, memories, and
    subscriber information.
18. Review of the Snapchat conversations between “official_anoel” and VICTIM 1’s accounts
    determined Snapchat records captured thousands of messages between the victim’s account
    (VICTIM ACCOUNT A and B) and “official_anoel.”
19. Snapchat records indicated the conversations between “official_anoel” and VICTIM ACCOUNT A
    began on or about December 18, 2019, when VICTIM 1 was approximately 13 years of age, and
    ended on or about November 30, 2020, when VICTIM 1 was approximately 14 years of age.
    Snapchat records indicated the conversations between “official_anoel” and VICTIM ACCOUNT B

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       began on or about April 15, 2021, when VICTIM 1 was 14 years of age, and ended on or about
       July 7, 2021, when VICTIM 1 was still approximately 14 years of age.
    20. The Snapchat conversations within the records between VICTIM ACCOUNT A and
       “official_anoel” appear to indicate AUSTIN NOEL and VICTIM 1 had sexual interest in each
       other, were in a relationship of sorts, and at times stated they were in love.
    21. On January 10, 2020, there were conversations between VICTIM ACCOUNT A and
       “official_anoel,” which VICTIM 1 made statements indicating she knew AUSTIN NOEL was 23
       years of age.
    22. On March 17, 2020, conversations between VICTIM ACCOUNT A and “official_anoel” indicated a
       meeting at the movies, which corroborated the information provided by VICTIM 1.

               VICTIM ACCOUNT A: The memory of that night at the movies just hit
               official_anoel: I think about it a lot
               VICTIM ACCOUNT A: Everything was perfect
               official_anoel: It really was
               VICTIM ACCOUNT A: I still have the ticket
               official_anoel: I do too


    23. On March 22, 2020, messages between VICTIM ACCOUNT A and “official_anoel” indicated
       AUSTIN NOEL may have been aware of the VICTIM 1’s age. There were a series of messages
       exchanged, which read: 3

               official_anoel: I shouldn't be talking to you but I so love
               toðŸ’ ðŸ ¼â€ â™‚ï¸ ðŸ˜‚ðŸ˜,
               VICTIM ACCOUNT A: Why shouldn't you be talking to me?
               official_anoel: Nvm let's not get into that
               VICTIM ACCOUNT A: Is it age?
               official_anoel: Yes, but like I've told you before I don't care at all about it


    24. Messages within the records between VICTIM ACCOUNT A and “official_anoel” indicated
       AUSTIN NOEL had exchanged explicit photographs. On March 27, 2020, a portion of the
       messages read:

           VICTIM ACCOUNT A: What happened to that thing you were gonna send?
           official_anoel: I'll do it right now
           VICTIM ACCOUNT A: ðŸ˜ ðŸ˜

3
 The records provided by Snapchat included these unusual symbols. There was no explanation
provided by Shapchat. I believe these symbols are likely typographical representations of
emojis.
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       official_anoel: ðŸ˜ ðŸ˜˜
       VICTIM ACCOUNT A: DaddyðŸ¥µthank you so much
       official_anoel: Yes
       official_anoel: Of course
       VICTIM ACCOUNT A: Is there anything you would like?
       official_anoel: You wanna have some fun?.
       VICTIM ACCOUNT A: Depends
       official_anoel: On?
       VICTIM ACCOUNT A: What do you want me to do?
       official_anoel: Play with me
       official_anoel: Like before
       VICTIM ACCOUNT A: How so?
       official_anoel: Like how we did before
       VICTIM ACCOUNT A: Involving my pussy?
       official_anoel: And the rest of you
       VICTIM ACCOUNT A: I'm good with everything except my pussy
       official_anoel: How come
       VICTIM ACCOUNT A: It has become my main insecurity the past few months
       official_anoel: What why?
       official_anoel: You know I Love your pussy..
       VICTIM ACCOUNT A: I'm not sure exactly why but it is, ik you love it, I'm sorry
       official_anoel: Its okay don't be sorry, i just want you to know I love it
       VICTIM ACCOUNT A: Thank you daddy
       official_anoel: Of course. You send whatever you're comfortable with â ¤
       official_anoel: Fuckkkk
       official_anoel: You're prefect
       VICTIM ACCOUNT A: Thank you daddyðŸ˜
       official_anoel: ðŸ˜ ðŸ˜
       VICTIM ACCOUNT A: Wow, you made me really horny tonight

25. Numerous messages within the records between VICTIM ACCOUNT A and “official_anoel”
   indicated AUSTIN NOEL had interest in meeting up in person with VICTIM 1. Over March 31 and
   April 1, 2022, a portion of the messages read:

       VICTIM ACCOUNT A: Any forceful movements would make me really happy
       official_anoel: You like that?
       VICTIM ACCOUNT A: Yesss
       official_anoel: Since when baby
       VICTIM ACCOUNT A: Since my first kiss
       official_anoel: What. Why?
       VICTIM ACCOUNT A: He pushed me against the wall and kept his hands pushing on my hips
       while he was kissing me and a few other things like that happened but that's just one lighter
       example
       official_anoel: Aw man I wanted to do all of that to you..
       VICTIM ACCOUNT A: I'd love for you to do that
       VICTIM ACCOUNT A: Damn daddy
       official_anoel: Soon please sneak out or something lol

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       VICTIM ACCOUNT A: I might be able to
       VICTIM ACCOUNT A: I'm on my period at the moment tho
       official_anoel: That doesn't bother me
       VICTIM ACCOUNT A: It bothers meðŸ˜‚
       VICTIM ACCOUNT A: My cramps are so bad
       official_anoel: Sex on your period really helps
       VICTIM ACCOUNT A: Interesting
       official_anoel: And it feels better apparently
       VICTIM ACCOUNT A: I wouldn't know
       official_anoel: I'll show you
       VICTIM ACCOUNT A: ðŸ˜³damn
       official_anoel: Just sneak out for us
       VICTIM ACCOUNT A: And go where?
       official_anoel: In my car, or a park, or my place
       VICTIM ACCOUNT A: Not tonight my dad closes tonight
       official_anoel: Aw okay
26. Numerous messages within the records between VICTIM ACCOUNT A and “official_anoel”
   indicated AUSTIN NOEL had a sexual interest in VICTIM 1. It also appeared AUSTIN NOEL had a
   desire to get together for sexual activities with VICTIM 1. On September 8, 2020, messages read:

           VICTIM ACCOUNT A: I wish I was with you rn
           official_anoel: Oh I really wish you were too
           VICTIM ACCOUNT A: Why's that?
           official_anoel: Because you could help me
           VICTIM ACCOUNT A: Hmm now what would you need help with daddy?
           official_anoel: You could help me with my dick babygirl

27. On September 20, 2020, there was discussion between VICTIM ACCOUNT A and “official_anoel”
   about VICTIM 1 coming back to Michigan. AUSTIN NOEL expressed his excitement that VICTIM 1
   was coming back. VICTIM 1 and AUSTIN NOEL discussed VICTIM 1’s family dynamics. A portion
   of the conversation read:

           VICTIM ACCOUNT A: It's whatever, not like I can change it, they just get all
           pissed off and say "why is your generation so rude"
           official_anoel: I wish I could take you away
           VICTIM ACCOUNT A: Yeah, me too
           official_anoel: When you're 15 you can emancipate yourself and I can adopt you
           VICTIM ACCOUNT A: I plan on living with my mom next year and stay there but
           I feel like I'm betraying them just by doing that
           official_anoel: Oh
           VICTIM ACCOUNT A: Also that would be kinda strange if you adopted me
           official_anoel: That would make it 100x easier for us lol
           VICTIM ACCOUNT A: How so?
           official_anoel: Id adpot you and then you'd be living with me


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           VICTIM ACCOUNT A: Then I'd feel like you were my dad and not my lover
           official_anoel: Well we would be lovers but we don't need other people to know that
           right away
           VICTIM ACCOUNT A: Could you get arrested for that?
           official_anoel: How would anyone know if uts just us and you living with me
28. Approximately 87 media images were exchanged within the conversations between
   “official_anoel” and VICTIM ACCOUNT A. Of the 87 images, ten (10) images appear to depict
   VICTIM 1. Five (5) images depict VICTIM 1 fully clothed and displaying her face. Four (4) images
   appear to depict VICTIM 1 partially clothed and one (1) image appears to show VICTIM 1’s bare
   breasts. The four (4) partially clothed images are of similar poses taken inside a bedroom.
   VICTIM 1’s face is not visible, and the images depict her hair, back, buttocks, and upper legs
   while wearing lingerie, or minimal clothing. The 1 image showing VICTIM 1’s breasts, depicts a
   close‐up photo of her front torso without showing her face. VICTIM 1 is laying on what appears
   to be a bed, displaying bare breasts. The remaining images exchanged between “official_anoel”
   and VICTIM ACCOUNT A, appeared to be memes, some of which were sexual in nature.
29. Approximately five (5) media images were exchanged within the conversations VICTIM
   ACCOUNT B and “official_anoel” and those images depicted fully clothed “selfies” of VICTIM 1
   and memes.
30. On, March 19, 2022, a search warrant was obtained through the Western District of Michigan
   for AUSTIN NOEL, his residence 6702 Arlene Dr., Hudsonville, MI, 49426‐9821, and his
   registered vehicles: 2012 Dodge Ram, Michigan license plate 8MRX1, a 2002 Honda Accord,
   Michigan license plate ELR1947, a 2020 Subaru Forester, Michigan license plate DV3224A, and a
   2008 Honda Racer, Michigan license plate FP082. Numerous evidence items were seized from
   AUSTIN NOEL’s residence to include, but not limited to, a business card. A Samsung cell phone
   was also seized of AUSTIN NOEL’s person.
31. The business card, seized from the residence, appeared to indicate AUSTIN NOEL’s social media
   accounts which included Instagram with username @therealaustinnoel, Snapchat and Twitter
   with username @offical_anoel, and xbox username 2smellywefanda.




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                                                             Business Card ‐ Back
          Business Card ‐ Front



    32. During the search warrant execution of AUSTIN NOEL’s residence, FBI interviewed AUSTIN
        NOEL. AUSTIN NOEL stated he was employed by Big Dutchman in Holland, Michigan. AUSTIN
        NOEL advised his email address was atnhotdude@yahoo.com4, AUSTIN NOEL also provided his
        cell phone number as 616‐215‐9620. AUSTIN NOEL stated his Instagram account was “The Real
        Austin Noel.” AUSTIN NOEL advised there was another person on Instagram with his same
        name, so he created “The Real Austin Noel.” AUSTIN NOEL admitted to having a Snapchat
        account with username austin.noel5, and other Snapchat accounts he did not use anymore.
        AUSTIN NOEL denied ever changing his Snapchat username and stated he only used the account
        for his supplement company ads and memes. AUSTIN NOEL stated no one had access to his
        social media accounts other than him. However, AUSTIN NOEL denied the chat conversations
        recovered by the FBI were him and denied chatting with underage girls.
    33. Following the search, the Samsung cell phone, seized from AUSTIN NOEL’s person, was
        forensically extracted and reviewed. Forensics indicated the phone number associated with the
        device was 616‐215‐9620. Numerous pictures on the device depicted AUSTIN NOEL. Several e‐
        mail addresses were observed to include, but not limited to, anoel@bigdutchman.com and
        atnhotdude@yahoo.com. The social media account Snapchat was located on the cell phone.
        The cell phone also had applications such as “Lockdown Pro6” and “Keepsafe7,” which is a
        private photo vault.




4
  Snapchat records obtained February 24, 2022, returned an e‐mail address atnhotdude@yahoo.com associated
with the account “official_anoel.”
5
  Snapchat records for the account “official_anoel,” obtained February 24, 2022, returned a history of a display
name “Austin Noel” and “Austin N.”
6
  According to an open Google search, Lockdown Pro is an application used to password protect applications.
7
  According to an open Google search, Keepsafe secures personal photos and videos by locking them down with
PIN protection, fingerprint touch ID, and military‐grade encryption.

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 34. Many sexually explicit images of females were located on the Samsung cell phone. Investigators
    identified approximately 19 images that depicted VICTIM 1. Approximately 5 images depicted
    VICTIM 1 in underwear, or limited clothing (2 of the images are duplicates). Approximately 10
    images depicted the victim showing her breasts (6 of the images are duplicates). Approximately
    4 copies of the same image that depicted a female hand with two fingers inserted into her
    vagina, but the face of the person is not seen. One of the copies had the file name
    46934f5e114f588af53335ff349f45a3d7bfa0f1b072cc29e3e9b12e6be575d4.jpg.
 35. On December 15, 2022, the FBI Louisville Division conducted a second forensic interview of
    VICTIM 1. VICTIM 1 had a difficult time describing her and AUSTIN NOEL’s "nudes" that were
    exchanged. VICTIM 1 sent AUSTIN NOEL pictures almost every day, most of which were of her
    “tits,” or “ass.” Sometimes AUSTIN NOEL requested to see VICTIM 1’s vagina and those were
    mostly videos. The only times VICTIM 1's face was in a video, was if she showed both her “tits”
    and vagina, otherwise photos or videos showing VICTIM 1's vagina usually did not have her face
    in them. The conversation leading up to pictures or videos being shared with AUSTIN NOEL was
    usually sexual in nature, then AUSTIN NOEL would send her nude images, then request she send
    him nude images or videos. Sometimes VICITIM 1’s hand(s) would be “spreading” her vagina in
    images, and in videos VICTIM 1 was “fingering herself,” i.e. masturbating. VICTIM 1 also sent
    some videos of her “bouncing her tits.” Most of the images and videos were taken in VICTIM 1’s
    bedroom or bathroom in her father's house located in Michigan. Some were taken in Louisville
    at her mother's house while she was on a break from school.
 36. During the interview VICTIM 1 was shown 4 images.
    a. One of the images recovered from AUSTIN NOEL’s cell phone with the file name
        46934f5e114f588af53335ff349f45a3d7bfa0f1b072cc29e3e9b12e6be575d4.jpg. It depicted
        a close up of a female’s pubic area with the two middle fingers of a hand inserted in the
        vaginal opening. There is a grey blanket type material at the bottom of the photograph.
        (Same image noted as recovered in paragraph 34.)
    b. VICTIM 1 identified herself in the image. VICTIM 1 said that the image was taken at her
        mother's house in Louisville, KY, while she was on the floor in her bedroom closet sitting on
        a towel. VICTIM 1 was between 6th or 7th grade in this image. The image was taken using
        VICTIM 1’s old Samsung J Series cell phone using Snapchat and she only sent the image to
        AUSTIN NOEL. VICTIM 1 advised that the image could have been from a picture or a video.



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         VICTIM 1 sent pictures of her breasts or buttocks nearly once per day, but pictures or videos
         of VICTIM 1's vagina, similar to the fourth image, occurred once or twice per week.
    c. Another image shown to VICTIM 1 was recovered from VICTIM ACCOUNT A, one of VICTIM
         1’s Snapchat accounts. The image had the file name memories~~2020‐07‐17‐00‐11‐
         20UTC~kennalb3~~~main‐4a69e136‐b8ac‐e21e‐2ee9‐094b4fe8d000~V4.jpg. The image
         depicted a female hand with two of the fingers covered with a fluid. The hand was in front
         of a pink and purple blanket.
    d. VICTIM 1 identified herself in the image. VICTIM 1 sent the image after having a sexual
         conversation with AUSTIN NOEL where they sent sexual images back and forth. VICTIM 1
         sent AUSTN NOEL the picture and told him she had "finished". The image was taken on
         Snapchat. VICTIM 1 said that she was between the 5th and 7th grade at the time the image
         was taken. VICTIM 1 could not recall what device she used to take the photograph. VICTIM
         1 couldn't positively remember, but believed AUSTIN NOEL asked her to show him she
         finished. She advised that these types of images happened on multiple occasions. VICTIM 1
         recognized the pink/purple quilt in the background because her grandmother made her the
         quilt. VICTIM 1 had the quilt currently at her mother's house in Louisville, but believed the
         picture was taken when she had the quilt at her father's house in Michigan. VICTIM 1 moved
         the quilt to her mother's house after 8th grade.
    e. The other two images the FBI showed to VICTIM 1 were not pornographic. One image
         depicted VICTIM 1 in front of a mirror in a bathroom wearing a black sweatshirt and glasses
         and was recovered from VICTIM ACCOUNT A. VICTIM 1 identified herself and stated the
         photograph was taken at her father’s house in Michigan. The bathroom depicted in the
         photograph appears to match several other photographs of VICTIM 1 recovered from
         AUSTIN NOEL’s cell phone.
    f.   The last image depicts a dog being petted with the arm in a long sleeve black shirt with a
         grey blanket in the background. (It appeared to me that the blanket depicted was similar to
         the blanket material depicted in the image described in 36(a) above.) The image was
         recovered from VICTIM ACCOUNT A. VICTIM 1 identified herself in the image. The image
         was taken at VICTIM 1’s mother's house in VICTIM 1’s bedroom. The dog is theirs.
 37. Based on the information above, I believe there is probable cause to believe that AUSTIN NOEL,
    coerced and enticed a minor to engage in illegal sexual conduct in violation of 18 U.S.C. §
    2422(b); persuaded, used, or enticed a minor to engage in sexually explicit conduct for the

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         purpose of producing a depiction of such conduct in violation of 18 U.S.C. § 2251(a); and
         received and possessed such image of child pornography in violation of 18 U.S.C. § 2252A(a)(2)
         and (a)(5)(B).

                                    VICTIMIZATION OF OTHER MINORS

     38. A computer forensic examiner recovered more than 750 images that depicted young females
         from AUSTIN NOEL’s Samsung cell phone. Many of the images depicted the females exposing
         their breasts, vagina, anus, or performing sexual acts. The age of the females, although
         unknown, appeared to range from teen to young adult.
     39. After further review of the Snapchat conversations records for “official_anoel,” it was
         determined AUSTIN NOEL was in conversations with over 700 Snapchat accounts. Investigators
         have not confirmed all of the identities of the Snapchat accounts, however, the chat
         conversations indicated approximately 37 appeared to be females who were under the age of
         18. Of those 37, approximately 24 underage females ranged from 12 to 15 years of age.
     40. Within the Snapchat conversations, the FBI identified VICTIM 2, using VICTIM 2 ACCOUNT.8
         VICTIM 2 and “official_anoel” had conversations between May 18, 2020, and May 29, 2020. On
         May 27, 2020, and May 28, 2020, there were conversations between VICTIM 2 and
         “official_anoel,” in which age was discussed. Part of those message read:

             VICTIM 2 ACCOUNT: How old are you
             official_anoel: 21
             VICTIM 2 ACCOUNT: Wayyyy to oldðŸ˜‚ðŸ˜‚ðŸ˜‚
             official_anoel: Exactly why I watched your storyðŸ˜‚
             VICTIM 2 ACCOUNT: ðŸ˜‚
             official_anoel: How old are youðŸ˜‚
             VICTIM 2 ACCOUNT: 13 ðŸ˜³ðŸ¤£
             official_anoel: ðŸ˜³
             VICTIM 2 ACCOUNT: OofðŸ˜‚
             official_anoel: Welp
             official_anoel: Haha
             VICTIM 2 ACCOUNT: Hahha
             official_anoel: If it's any consola on, I definitely dated a 14 yo like last year ðŸ˜¬ðŸ˜¬ðŸ˜‚
             VICTIM 2 ACCOUNT: ðŸ˜‚omg
             Further on in the conversations:
             official_anoel: Just let me make you happy
             VICTIM 2 ACCOUNT: How
             official_anoel: Well you gotta let me first

8
 VICTIM 2’s Snapchat account is known to law enforcement and is being concealed to protect the identity of the
minor victim

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       VICTIM 2 ACCOUNT I just asked how
       official_anoel: Love, attention, pleasure lol
       official_anoel: But nah we can just talk ðŸ¤∙ðŸ ¼â€ â™‚ï¸
       VICTIM 2 ACCOUNT: Mmh
       official_anoel: What??
       VICTIM 2 ACCOUNT: You said we can just talk
       VICTIM 2 ACCOUNT: Idc
       official_anoel: Then ill give you all the other 3 too
       VICTIM 2 ACCOUNT: What state do you live in?
       official_anoel: Michigan
       VICTIM 2 ACCOUNT: Area? If Iâ€™m allowed to ask
       official_anoel: By grand haven
       VICTIM 2 ACCOUNT: Ah
       official_anoel: You?
       VICTIM 2 ACCOUNT: Muskegon
       official_anoel: Yeah you're really close lol
       VICTIM 2 ACCOUNT: Mmh
       official_anoel: Sooo I can give you those 3
       VICTIM 2 ACCOUNT: Depends
       VICTIM 2 ACCOUNT: What do you mean
       official_anoel: On
       VICTIM 2 ACCOUNT: What do you mean I asked
       official_anoel: You get anything you want from me
       VICTIM 2 ACCOUNT:.....
       official_anoel: What now
       VICTIM 2 ACCOUNT: Idk
       VICTIM 2 ACCOUNT: You understand that Iâ€™m 13, right
       official_anoel: I do
       VICTIM 2 ACCOUNT: Your 21
       official_anoel: Okay
       official_anoel: And
       VICTIM 2 ACCOUNT: Thatâ€™s old
       VICTIM 2 ACCOUNT: I donâ€™t even know what you look like
       official_anoel: I dont even know what you look like either lol
       VICTIM 2 ACCOUNT: Send me a pic of you
       VICTIM 2 ACCOUNT: I will do the same
       official_anoel: You go first
       VICTIM 2 ACCOUNT: Alright
       (VICTIM 2 ACCOUNT sent a selfie image)
       official_anoel: I can barely see you lol
       VICTIM 2 ACCOUNT: I only do side pictures
       VICTIM 2 ACCOUNT: Your turn
       official_anoel: Same
       VICTIM 2 ACCOUNT: Ok
       official_anoel: Alright
       VICTIM 2 ACCOUNT: ...
       official_anoel: What??
       VICTIM 2 ACCOUNT: Sorry

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       official_anoel: For what
       VICTIM 2 ACCOUNT: I didnâ€™t mean to type
       official_anoel: Well do you wanna talk
       VICTIM 2 ACCOUNT: If you want
       official_anoel: Its up to you
       VICTIM 2 ACCOUNT: I said if you want
       official_anoel: I told you I'll give you anything
       VICTIM 2 ACCOUNT: I know but Iâ€™m dating
       official_anoel: So take a break or don't say anything
       VICTIM 2 ACCOUNT: Why?
       official_anoel: Because you'll really enjoy it and be happy
       VICTIM 2 ACCOUNT: Why would I
       official_anoel: Because I can give you anything you want, you'll have non stop attention, ill
       make you happy, and you'll love the pleasure
       VICTIM 2 ACCOUNT: Ok
       VICTIM 2 ACCOUNT: Iâ€™m 13, your 21
       official_anoel: We've been over that
       VICTIM 2 ACCOUNT: [chat audio media sent from V2‐ “Don’t you think that is weird? Like,
       for real, dude.”]
       official_anoel: I know people dating/married over 10 years apart
       VICTIM 2 ACCOUNT: [chat audio media sent from V2 – “Ok, but that doesn’t mean I want
       to.”]
       official_anoel: Never said you had to
       VICTIM 2 ACCOUNT: [chat audio media sent from V2 – “I know, but I’m loyal.”]
       official_anoel: Thats why I said to break up
       VICTIM 2 ACCOUNT: [chat audio media sent from V2 –“Why would I break up with him?”]
       official_anoel: I already said why
       official_anoel: Youll be bappy
       VICTIM 2 ACCOUNT: [chat audio media sent from V2 – “How?”]
       official_anoel: You want something, I give you it. You want attention, I give you it. You want
       30+ minutes of fun, I give you it. I will make you happy every day
       VICTIM 2 ACCOUNT: For one, Iâ€™m loyal af. Second, you live about 30‐60 minutes away.
       And lastly, your 21!
       official_anoel: I like 15 minutes from you
       VICTIM 2 ACCOUNT: Plus my parents are home for part of the day
       official_anoel: And I told you, when youre single
       official_anoel: You can be loyal to me
       VICTIM 2 ACCOUNT: [chat audio media sent from V2 – “I’m not going to be single for a long
       time.”
       official_anoel: You say that when you already broke up 3 times? Cmon now
       VICTIM 2 ACCOUNT: Cmon what
       official_anoel: Nothing you don't listen
       official_anoel: I have nothing else to say to you until you're single, or decide you want true
       happiness and anything you want
       VICTIM 2 ACCOUNT: I want happiness
       official_anoel: I would give you happiness every day and night
       VICTIM 2 ACCOUNT: [chat audio media sent from V2 – “I want happiness, nut not with you.
       I’d rather have my boyfriend do that.”

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             VICTIM 2 ACCOUNT: [chat audio media sent from V2 – “Plus, all you are going to want to do
             is fuck, fuck, fuck, and fuck. That is all.”]
             official_anoel: Except he's not making you happy clesrly, and im make you much happier.
             And no, that's not all I want, hence why I said I'd give you anything
             VICTIM 2 ACCOUNT: [chat audio media sent from V2 Nah
             VICTIM 2 ACCOUNT: [chat audio media sent from V2 How would you make me happier?
             Explain me that.
             official_anoel: Literally said it. I can give you Anything you want . You'd have my undivided
             attention. I'd make you laugh every day, you still get my memes. Like you can have anything
             VICTIM 2 ACCOUNT: [chat audio media sent from V2 Give me $100.
             official_anoel: Break up with him and I will


     41. On October 28, 2022, the FBI located and interviewed VICTIM 2, who is now a 15‐year‐old girl.
        VICTIM 2 confirmed VICTIM 2 ACCOUNT was her Snapchat account and she was the only one
        who had access to her account. VICTIM 2 was shown a photograph of AUSTIN NOEL with no
        identifiers. VICTIM 2 did not recognize AUSTIN NOEL. VICTIM 2 did not recognize the Snapchat
        account “official_anoel,” but also stated she had a lot of friends on Snapchat. VICTIM 2
        searched for “official_anoel” using her Snapchat with negative results. VICTIM 2 indicated she
        would not see the account if “official_anoel” was deleted, or she was blocked. VICTIM 2 was
        shown excerpts of the Snapchat conversations between VICTIM 2 ACCOUNT and
        “official_anoel.” VICTIM 2 remembered the conversation because of the male attempting to get
        her to break up with her boyfriend. VICTIM 2 had a lot of Snapchat accounts asking her for
        nudes and she recalled “messing with this guy.” VICTIM 2 identified herself in a selfie image that
        was shared in the conversation. VICTIM 2 confirmed that was 13 years old at the time of
        conversation with “official anoel.” VICTIM 2 did not receive any nude photographs from
        AUSTIN NOEL and VICTIM 2 did not send any nude photographs to AUSTIN NOEL.
     42. Within the Snapchat conversations, the FBI identified VICTIM 3, using VICTIM 3 ACCOUNT9.
        VICTIM 3 and “official_anoel” had conversations between December 28, 2019, and January 15,
        2020.
     43. On January 2, 2020, there were conversations between VICTIM 3 and “official_anoel,” in which
        age was discussed. Part of the messages read:

             VICTIM 3 ACCOUNT: What u look like and how old are u?ðŸ¤”
             official_anoel: 1810

9
  VICTIM 3’s Snapchat account is known to law enforcement and is being concealed to protect the identity of the
minor victim
10
   January 2, 2020, AUSTIN NOEL would have been 24 years of age with a date of birth of January xx, 1996.

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        VICTIM 3 ACCOUNT: To old sorry
        official_anoel: How old are you
        VICTIM 3 ACCOUNT: 14
        official_anoel: Oh, man :/ I guess it's not that bad only 4 years but understand
        VICTIM 3 ACCOUNT: Yeah
        official_anoel: Friends ?
        VICTIM 3 ACCOUNT: Sure
        official_anoel: Sweet, you're cool
        VICTIM 3 ACCOUNT: Lol thanks
 44. On January 3, 2020, there was discussion between VICTIM 3 ACCOUNT and “official_anoel”
    about VICTIM 3 sneaking out to meet AUSTIN NOEL. A portion of the conversation read:

    VICTIM 3 ACCOUNT: Yeah he got home around 3 so we could had fun for a while ðŸ˜
    official_anoel: Damn I shouldve taken off work
    VICTIM 3 ACCOUNT: Yeah
    official_anoel: Well we still have tonight
    VICTIM 3 ACCOUNT: Maybe lol idk tbh because I might have to help my dad
    official_anoel: Well late tonight we will
    VICTIM 3 ACCOUNT: Maybe Bc he usually stays up till 11:30
    VICTIM 3 ACCOUNT: But Iâ€™ll let u know
    official_anoel: I'll get you around 12 rhen
    VICTIM 3 ACCOUNT: Lol Iâ€™ll let you know
    official_anoel: You gotta stay up lol
    VICTIM 3 ACCOUNT: Haha Iâ€™ll try
    official_anoel: You have toooo
    official_anoel: So we can fuck tonight lol
    VICTIM 3 ACCOUNT: Lol okay Iâ€™ll try
    official_anoel: You gottaaaa
    VICTIM 3 ACCOUNT: Kk
    official_anoel: ðŸ˜‐ðŸ˜‐ðŸ˜‐
    VICTIM 3 ACCOUNT: I will try
    official_anoel: Pleaseeee
    VICTIM 3 ACCOUNT: I will
    official_anoel: Good ðŸ¤¤
    VICTIM 3 ACCOUNT: Okay lol
    official_anoel: ðŸ˜˜
    VICTIM 3 ACCOUNT: ðŸ˜
    official_anoel: Its gonna be funnnn
    VICTIM 3 ACCOUNT: Yah
    official_anoel: Be excited lol
    VICTIM 3 ACCOUNT: I am
    official_anoel: Good
    VICTIM 3 ACCOUNT: Lol
    official_anoel: So I'll message you at 12
    VICTIM 3 ACCOUNT: Alright and Iâ€™ll let u know if I plan on sneaking out or not
    official_anoel: You gotttaaa
    official_anoel: So we can hangout

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    VICTIM 3 ACCOUNT: Yeah Ik itâ€™s just that I still donâ€™t feel good
    official_anoel: You'll feel a lot better once you're with me
    VICTIM 3 ACCOUNT: Lol wym by that
    official_anoel: You'll feel better with me
    VICTIM 3 ACCOUNT: Alright
    official_anoel: What
    VICTIM 3 ACCOUNT: Nothing
    official_anoel: Its gonna be amazing
    VICTIM 3 ACCOUNT: Yeah it is
    official_anoel: â ¤
    official_anoel: You get one after I pick you up
    VICTIM 3 ACCOUNT: Yeah but idk if I can tonight because that might be around like 2am and
    Iâ€™m gonna be tired asf
    official_anoel: It'll be worth it idc how late
    VICTIM 3 ACCOUNT: It will be worth me being tired for taking care of my dad lol and my mom
    wakes up at 4:30 to go to work tmr
    official_anoel: It'll be fun
    VICTIM 3 ACCOUNT: Wym
    official_anoel: If you let me get you :/
    VICTIM 3 ACCOUNT: Yeah lol depends lol
    official_anoel: Noo cmon you gotta idc how late
    VICTIM 3 ACCOUNT: Why u wanna see me so bad
    official_anoel: Because you're so cute and I wanna get close to you and I really wanna have sex
    with you
    VICTIM 3 ACCOUNT: Ahh lol u want me to lose my virginity
    official_anoel: I want to be the one who takes it lol â ¤
    VICTIM 3 ACCOUNT: Oooo ok
    official_anoel: We gotta get close ya know
    VICTIM 3 ACCOUNT: Yah l
    official_anoel: A few
    VICTIM 3 ACCOUNT: Ah ok
    official_anoel: Okay good ðŸ¤¤ nobody else just us lpl
    official_anoel: Lol
    VICTIM 3 ACCOUNT: Ik lol
    official_anoel: Good lol
    VICTIM 3 ACCOUNT: Lol
    official_anoel: I'm hard lol
    VICTIM 3 ACCOUNT: Why
    official_anoel: Thinking about it
    VICTIM 3 ACCOUNT: I didnâ€™t do anything for I to get hard lol
    VICTIM 3 ACCOUNT: Ahh l
    official_anoel: Just thought about it and you ppl
    official_anoel: Lol*
    VICTIM 3 ACCOUNT: Ahh lol
    official_anoel: What
    VICTIM 3 ACCOUNT: Nun
    official_anoel: You don't like pics lol
    VICTIM 3 ACCOUNT: I did

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    VICTIM 3 ACCOUNT: Do*
    official_anoel: Did you like that
    VICTIM 3 ACCOUNT: Yeah
    official_anoel: Good
    official_anoel: It's yours
    VICTIM 3 ACCOUNT: Huh
    official_anoel: My dick, it's yours
    VICTIM 3 ACCOUNT: Oh lol
 45. On October 26, 2022, the FBI located and interviewed VICTIM 3, who is now a 17‐year‐old girl.
    VICTIM 3 confirmed VICTIM 3 ACCOUNT was her Snapchat and she was the only one who had
    access to her account. VICTIM 3 was shown a photograph of AUSTIN NOEL with no identifiers.
    VICTIM 3 did not recognize AUSTIN NOEL. VICTIM 3 did not recognize the Snapchat account
    “official_anoel.” VICTIM 3 searched for “official_anoel” using her Snapchat with negative
    results. VICTIM 3 was shown an excerpt of the Snapchat conversations between VICTIM 3
    ACCOUNT and “official_anoel.” VICTIM 3 did not remember the conversation but identified
    herself in a selfie that was exchanged during the conversations. VICTIM 3 was asked if she sent
    nude photographs to “official anoel,” which she replied, “Probably.” VICTIM 3 could not recall
    any details and began to cry.
 46. Based on the information above, I believe there is probable cause to believe that AUSTIN NOEL,
    engaged in a course of conduct known as grooming and attempted to coerced and enticed
    minors to engage in illegal sexual conduct in violation of 18 U.S.C. § 2422(b).
 47. Law enforcement reviewed historical police reports in which AUSTIN NOEL was named the
    subject of investigations from Ottawa County Sheriff’s Department and the Naval Criminal
    Investigative Service (NCIS).
 48. On or about November 2015, a female (FEMALE 1), who was 15 years old at the time, came
    forward to the Ottawa County Sheriff’s Office. FEMALE 1 advised she met AUSTIN NOEL on a
    phone application called KIK, and messaged him for approximately two months. The
    conversations started innocently, until AUSTIN NOEL asked FEMALE 1 to send him a naked
    picture of herself. FEMALE 1 attempted to ignore the request, however, AUSTIN NOEL
    continued to ask her to send him pictures. Eventually, FEMALE 1 sent AUSTIN NOEL a picture of
    herself in her underwear. In response, AUSTIN NOEL sent FEMALE 1 a picture of his exposed
    penis. Ottawa County Sheriff’s Office conducted a forensic review of FEMALE 1’s cellular phone.
    No child pornography was located. However, there were numerous text messages of a sexual
    nature and screen shots that indicated FEMALE 1 and “AUSTIN” were in a relationship.


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 49. The Ottawa County Sheriff’s Office contacted NCIS, as AUSTIN NOEL was a 19‐year‐old Marine
     assigned to Camp Lejeune, North Carolina. In approximately March 2016, a Special Agent with
     NCIS advised Ottawa County Sheriff’s Office that AUSTIN NOEL was interviewed and confessed
     to sending photographs of his genitalia to FEMALE 1. AUSTIN NOEL also confessed to sexting
     FEMALE 1 and contacting her with the intent to have sexual intercourse with her.
 50. On April 21, 2022, the FBI obtained a copy of the NCIS investigation into AUSTIN NOEL for the
     case involving FEMALE 1. NCIS conducted a forensic review of AUSTIN NOEL’s cellular phone.
     According to the data, AUSTIN NOEL began exchanging text messages with FEMALE 1 on or
     about September 2015. On October 28, 2015, AUSTIN NOEL sent a text message to FEMALE 1
     that read, “Just letting you know, I'm gonna destroy your pussy." Later that same day, AUSTIN
     NOEL sent another text message to FEMALE 1 that read, "I shouldn't hafta ask if you wanted to
     talk to me you would text. But you're a teenager so I understand and don't get upset with you."
     On October 30, 2015, AUSTIN NOEL sent a text message to FEMALE 1 that read, "Oh. And I'm
     gonna pound the fuck out of you." This message along with others describe a sexual encounter.
 51. AUSTIN NOEL’s criminal history was obtained and showed AUSTIN NOEL was arrested on
     February 4, 2016, for the violation of UCMJ Article 120B Sexual Abuse of a Child. Records run in
     February 2022 indicated a disposition of “01/24/2017 SUMMARY COURT MARTIAL
     PLEAD/FOUND GUILTY ADMINISTRATIVE SEPARATION. Records run in May 2022 indicated a
     disposition of “NOT CHARGED OR PROSECUTED‐NO ACTION TAKEN HONORABLY DISCHARGED
     FROM THE US NAVY 06/01/18).”

                                           CONCLUSION

 52. Based on the information above, I believe there is probable cause to believe that AUSTIN
     THOMAS NOEL, coerced and enticed minors to engage in illegal sexual conduct in violation of 18
     U.S.C. § 2422(b); persuaded, used, or enticed a minor to engage in sexually explicit conduct for
     the purpose of producing a depiction of such conduct in violation of 18 U.S.C. § 2251(a); and
     received and possessed such image of child pornography in violation of 18 U.S.C. § 2252A(a)(2)
     and (a)(5)(B).




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